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     Jonathan B. Mason, Esq.
 1   Mason Law Group, P.C.
     1100 Peachtree Street, NE, Suite 200
 2   Atlanta, GA 30309
     Telephone: (404) 920-8040
 3   Email: jmason@atlshowbizlaw.com
 4   Attorney for Plaintiff Shantell Jarrett
 5

 6
                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF GEORGIA
 7                             ATLANTA DIVISION
 8
                                               ) Case No.:
 9   SHANTELL JARRETT,                         )
                                               )
10                   Plaintiff,                ) CIVIL COMPLAINT
                                               )
11                vs.                          )           AND
12
     AMERICAN CORADIUS                         )
     INTERNATIONAL, LLC,                       ) JURY TRIAL DEMAND
13
                                               )
              Defendant.                       )
14
                                               )

15

16                       CIVIL COMPLAINT AND JURY TRIAL DEMAND
17
           Plaintiff, Shantell Jarrett, on behalf of herself (hereinafter “Plaintiff”), by
18
     and through her undersigned attorney, alleges against American Coradius
19

20   International, LLC (hereinafter “Defendant”) as follows:
21
                              PRELIMINARY STATEMENT
22

23   1.    This is an action for damages arising from Defendant’s violations of 15
24
     U.S.C. § 1692, et seq., the Fair Debt Collection Practices Act (hereinafter
25

26
     “FDCPA”), which prohibits debt collectors from engaging in abusive, deceptive

27   and unfair practices, brought by Shantell Jarrett.
28




                                                1
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 1

 2                             JURSIDICTION AND VENUE
 3
     2.    This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331 and
 4

 5   15 U.S.C. §1692k (d).
 6
     3.    Venue is proper in this district under 28 U.S.C § 1391(b).
 7

 8                                         PARTIES
 9
     4.    Plaintiff, Shantell Jarrett, is a natural person, who at all relevant times has
10
     resided in the city of Norcross, Gwinnett County, State of Georgia, and is a
11

12   “consumer” as defined by 15 U.S.C. § 1692a(3).
13
     5.    Defendant, American Coradius International, LLC is incorporated and does
14

15   business in the State of Georgia, with its corporate mailing address as 2420 Sweet
16
     Home Road, Suite 150, Amherst, NY 14228, and is a “debt collector” as defined
17

18
     by 15 U.S.C § 1692a(6).

19                               FACTUAL STATEMENT
20
     6.     At all times relevant to this litigation, Defendant has engaged in a course of
21

22   collection activity aimed at recoupment of an alleged debt due and owing. The
23
     alleged debt accrued as the result of a student loan (“Subject Debt”). As the loan
24

25   was acquired for Plaintiff’s own personal use, same is a debt as defined by 15
26
     U.S.C § 1692a(5).
27

28




                                                2
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 1
     7.    On or about February 20, 2018, Plaintiff received a telephone call from

 2   Defendant. The call was placed in connection with the collection of the Subject
 3
     Debt. Defendant called Plaintiff at (404) 727-5385, which happens to be
 4

 5   Plaintiff’s place of business. During this call, Plaintiff advised Defendant that this
 6
     was her place of business and that she no longer wished to be called there.
 7

 8   8.    Defendant seemingly abided by the request until March 12, 2018 when
 9
     another call was placed. The call was placed in connection with the collection of
10
     the Subject Debt. Plaintiff did not pick up the phone and a message was left. A
11

12   voice to text document of that message is attached hereto marked “Exhibit A.” As
13
     can be seen in Exhibit A, the phone call is clearly from Defendant.
14

15   9.     Defendant called again on March 13, 2018. The call was placed in
16
     connection with the collection of the Subject Debt. Plaintiff did not pick up the
17

18
     phone and a message was left. A voice to text document of that message is

19   attached hereto marked “Exhibit B.” The number Defendant called from was (762)
20
     585-7898. As of the date of this filing, this number has been independently
21

22   verified to belong to the Defendant.
23
     10.   Defendant called again on March 14, 2018. The call was placed in
24

25   connection with the collection of the Subject Debt. Plaintiff did not pick up the
26
     phone and a message was left. A voice to text document of that message is
27
     attached hereto marked “Exhibit C.” The number Defendant called from was
28




                                                3
              Case 1:18-cv-05218-SCJ Document 1 Filed 11/14/18 Page 4 of 6




 1
     (855) 224-5187. As of the date of this filing, this number has been independently

 2   verified to belong to the Defendant.
 3
     11.   Defendant called again on March 14, 2018. The call was placed in
 4

 5   connection with the collection of the Subject Debt. Plaintiff did not pick up the
 6
     phone and a message was left. A voice to text document of that message is
 7

 8   attached hereto marked “Exhibit D.” The number Defendant called from was
 9
     (716) 418-7179. As of the date of this filing, this number has been independently
10
     verified to belong to the Defendant.
11

12   12.   Plaintiff put Defendant on actual, effective notice, that she was not to be
13
     called at her work number, yet Defendant ignored that requests and place and
14

15   additional four (4) phone calls to Plaintiff’s place of business, effectively
16
     jeopardizing her employment.
17

18
                               COUNT I
       VIOLATIONS OF THE FAIR DEBT COLECTIONS PRACTICES ACT
19                       15 U.S.C. §1692c(A)(3)
20
     13.   Plaintiff repeats and realleges the allegation contained in paragraphs (1)
21

22   through (12) above and incorporates them with the same force and effect as if set
23
     forth specifically herein.
24

25   14.   On February 20, 2018 Plaintiff received a telephone call from Defendant.
26
     Defendant called Plaintiff at (404) 727-5385, which happens to be Plaintiff’s place
27

28




                                                4
                Case 1:18-cv-05218-SCJ Document 1 Filed 11/14/18 Page 5 of 6




 1
     of business. During this call, Plaintiff advised Defendant that this was her place of

 2   business and that she no longer wished to be called there.
 3
     15.      Defendant then proceeded to place an additional four (4) phone calls to
 4

 5   Plaintiff’s place of business when they were put on actual, effective notice to cease
 6
     with calls to same.
 7

 8   16.      Defendant’s failure to cease calls to Plaintiff’s place of business is in direct
 9
     contradiction of U.S.C. §1692c(A)(3), wherein it is a violation of same to contact
10
     a consumer at the consumer's place of employment if the debt collector knows or
11

12   has reason to know that the consumer's employer prohibits the consumer from
13
     receiving such communication.
14

15   17.      Plaintiff has been damaged and is entitled to relief.
16
                                     JURY TRIAL DEMAND
17

18
                      Plaintiff demands a trial by jury on all issues so triable.

19                                            RELIEF
20
              WHEREFORE, Plaintiff, Shantell Jarrett, requests that this Court enter
21

22   judgment against the Defendant, and on behalf of Plaintiff for the following:
23
           A. That an order be entered declaring the Defendant actions, as described
24

25            above, in violation of the FDCPA;
26
           B. That judgment be entered against the Defendant for actual damages,
27
              pursuant to 15 U.S.C. § 1692k(a)(1);
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                                                   5
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 1
     C. That judgment be entered against the Defendant for statutory damages,

 2      pursuant to 15 U.S.C. § 1692k(a)(2)(A) and (B);
 3
     D. That the Court award costs and reasonable attorneys’ fees, pursuant to 15
 4

 5      U.S.C. § 1692k(a)(3);
 6
     E. That the Court grant such other and further relief as may be just and proper.
 7

 8

 9

10

11

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13

14

15
        Dated: November 10, 2018
16

17                                             Respectfully Submitted,
18
                                               s/ Jonathan B. Mason
19                                             Jonathan B. Mason, Esq.
20                                             Mason Law Group, P.C.
                                               1100 Peachtree Street, NE, Suite 200
21
                                               Atlanta, GA 30309
22                                             Telephone: (404) 920-8040
23
                                               Email: jmason@atlshowbizlaw.com

24                                             Attorney for Plaintiff Shantell Jarrett
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